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DEAN K. DUNSMORE
U.S. Department of Justice
Natural Resources Section

Environment & Natural Resources Division fF f LL = Dp)

C/O Office of U.S. Attorney

222 W 7th Ave, #9, Rm 253
Anchorage, Alaska 99513-7567
Telephone: (907) 271-5071

Email: dean.dunsmore@usdoj.gov

ATTORNEY FOR DEFENDANTS

AUG 13 2019

Clerk, US District Court
District Of Montana
Billings

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BILLINGS DIVISION

 

NATIVE ECOSYSTEMS COUNCIL,
and ALLIANCE FOR THE WILD
ROCKIES,

Plaintiffs,

vs.

JOHN MEHLHOEFF, State Director,!
the BUREAU OF LAND
MANAGEMENT, DEPARTMENT
OF THE INTERIOR, an agency of the
United States,

Defendants.

 

CV 1:18-55-BLG-SPW-TJC

STIPULATED SETTLEMENT
AGREEMENT

 

 

1 Substituted pursuant Rule 25(d) of the Federal Rules of Civil Procedure for the

prior State Director.
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Plaintiffs, Native Ecosystems Council and Alliance for the Wild Rockies.,
and Defendants, John Mehlhoff, State Director, Bureau of Land Management,
Department of the Interior; the Bureau of Land Management, Department of the
Interior; and the United States Department of the Interior, by and through their
attorneys, stipulate as follows:

WHEREAS, on March 23, 2018, Plaintiffs filed their Complaint for
Injunctive Relief alleging that Defendants violated the National Environmental
Policy Act, 42 U.S.C. §§ 4321 et seq., the Federal Land Policy and Management
Act (“FLPMA”), 43 U.S.C. §§ 1701-1785, and the Administrative Procedure Act,
5 U.S.C. §§ 701-706, in issuing the Decision Record, Iron Mask Planning Area
Environmental Assessment, Decision Record for Vegetation and Riparian
Treatments, Iron Mask Planning Area Environmental Assessment, and Final
Grazing Decision and Response to Protest — Indian Creek Forage Reserve.

WHEREAS, on March 12, 2019, the Court entered an Order (Doc. 82) and a
Judgment (Doc. 83) denying in part and granting in part Plaintiffs’ motion for
summary judgment and granting in part and denying in part Defendants’ cross

motion for summary judgment, remanding to the Bureau of Land Management to
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prepare a supplemental environmental assessment, and enjoining the challenged
actions pending the proceedings on remand.

WHEREAS, on April 4, 2019, Plaintiffs filed a Motion for Attorney’s Fees
and Other Expenses Under the Equal Access to Justice Act (Doc. 85).

WHEREAS, Plaintiffs and Defendants have agreed to the following
settlement that they consider to be a just, fair, adequate, and equitable resolution of
Plaintiffs’ demand for attorney’s fees, costs, and expenses.

WHEREAS, Plaintiffs and Federal Defendants agree that settlement of
attorney’s fees, costs, and expenses in this manner is an appropriate way to resolve
the dispute between them.

WHEREAS, Plaintiffs and Federal Defendants enter into this Stipulation
without any admission of fact or law, or waiver of any claims or defenses, factual
or legal.

ACCORDINGLY, PLAINTIFFS AND DEFENDANTS AGREE AND
STIPULATE AS FOLLOWS:

1. Defendants agree to pay $100,000.00 in full and complete satisfaction
of any and all claims, demands, rights, and causes of action pursuant to EAJA, 28
U.S.C. § 2412, and/or any other statute or common law theory, for all attorney’s

fees, costs, and expenses incurred by Plaintiffs in connection with the above-
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captioned litigation. This payment is in addition to the payment of $436.14 in
previously taxed and paid costs. The United States may offset the payment
amount for any delinquent debts owned by the payment recipients to the United
States pursuant to 31 U.S.C. §§ 3711, 3716.

2. Defendants’ payment, as identified in Paragraph 1 above, shall be
accomplished by electronic funds transfer to Akland Law Firm PLLC. Within
thirty days of final execution of the Stipulation, Plaintiffs shall provide the
following information necessary for Federal Defendants to process the electronic
funds transfer: the payee’s bank account number, account type, bank routing,
transit number and tax identification number.

3. Within thirty business days of receiving the information identified in
paragraph two above, or the signed court order approving this Stipulation,
whichever is later, Federal Defendants agree to submit all necessary paperwork to
the appropriate offices and to make every reasonable effort to provide for payment
to be transmitted within sixty days from receipt of the payment information or the
signed court order approving this Stipulation, whichever is later. Plaintiffs and
Plaintiffs’ attorneys agree to hold Federal Defendants and the United States
harmless in any litigation, further suit, or claim arising from the authorized transfer

of the agreed-upon amount.
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4. Plaintiffs agree that receipt of the above-described payment from
Federal Defendants shall operate as a release of any and all claims for attorney’s
fees, costs, and expenses that Plaintiffs may have against Federal Defendants under
any authority with respect to all aspects of the above-captioned litigation.

5. By this Stipulation, Federal Defendants do not waive any right to
contest fees claimed by Plaintiffs, including the hourly rate, in any future litigation.
Further, this Stipulation as to attorney’s fees, costs, and expenses has no
precedential value and shall not be used as evidence of such in any other attorneys’
fees litigation.

6. No provision of this Stipulation shall be interpreted as or constitute a
commitment or requirement that Federal Defendants obligate or pay funds in
violation of the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other appropriations
law.

7. This Stipulation represents the entirety of Plaintiffs’ and Federal
Defendants’ commitments with regard to settlement. The terms of this agreement
shall become effective upon final execution.

8. The Court shall retain jurisdiction to enforce the terms of this

agreement.
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2. The undersigned representatives of Plaintiffs and Federal Defendants

certify that they are fully authorized by the party or parties that they represent to

enter into the terms and conditions of this Agreement and do hereby agree to the

terms herein.

Dated: August 8, 2019

Dated: August 8, 2019

IT IS SO ORDERED,

Lycee thin

‘Susan P. Watters
United States District Court Judge

/s/ Kristine M. Akland
Kristine M. Akland
Akland Law Firm, PLLC
Thomas Woodbury
FOREST DEFENSE PC

Attorneys for Plaintiffs

/s/ Dean K. Dunsmore

DEAN K. DUNSMORE

U.S. Department of Justice
Environmental & Nat. Res. Division
C/O Office of U.S. Attorney

222 W 7" Ave, #9, Rm 253
Anchorage, AK 99513-7567
Telephone: (907) 271-5071
Email: dean.dunsmore@usdoj.gov

Attorney for Defendants

Dated: §-45-2ZO/7
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CERTIFICATE OF SERVICE

I hereby certify that on the 8" day of August 2019, a copy of the foregoing
document was served on the following persons by the following means.

1-3

 

 

 

CM/ECF

Hand Delivery

U.S. Mail

Overnight Delivery Service
Fax

E-Mail

1. Clerk of Court 2. Kristine M. Akland

AKLAND LAW FIRM, PLLC
P.O. Box 7274

Missoula, Montana 59807
(406) 544-9863 — phone
aklandlawfirm@gmail.com
Attorney for Plaintiffs

3. Thomas Woodbury
FOREST DEFENSE PC

618 Rollins St.

Missoula, Montana 59807
(650) 238-8759 — phone
tom@wildlandsdefense.com
Attorney for Plaintiffs

s/ Dean K. Dunsmore
Attorney for Defendants
